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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

                                                    MDL Case No. 2:22-md-03042-JRG
 TAASERA LICENSING LLC,                             Civil Case No. 2:22-cv-00063-JRG
                   Plaintiff,

     v.                                             DEMAND FOR JURY TRIAL
 CHECK POINT SOFTWARE
 TECHNOLOGIES LTD.,
                                                    THIS DOCUMENT RELATES TO
                                                    2:22-cv-00063-JRG
                   Defendant.


                        NOTICE OF APPEARANCE OF COUNSEL

       Defendant Check Point Software Technologies Ltd. (“Check Point”) files this Notice of

Appearance, and hereby notifies the Court that Jasmine W. Zhu, of the law firm Orrick, Herrington

& Sutcliffe LLP, Columbia Center, 1152 15th Street, N.W., Washington, D.C. 20005-1706,

Telephone (202) 339-8692, Fax (415) 773-5759, E-mail: jzhu@orrick.com has entered this action

as counsel for Check Point. In connection with this notice, Ms. Zhu requests that all future

pleadings and other papers filed under Fed. R. Civ. P. 5 be served on her at the above address and

contact information.


Dated: September 22, 2023                                   Respectfully submitted,

                                                            By: /s/ Jasmine W. Zhu
                                                            Jasmine W. Zhu
                                                            DC State Bar No. 1736129
                                                            Orrick, Herrington & Sutcliffe LLP
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 22, 2023, I electronically filed the foregoing NOTICE

OF APPEARANCE OF COUNSEL with the Clerk of the Court using the CM/ECF system which

will send notification of such filing via electronic mail to all counsel of record.


                                                       /s/ Jasmine W. Zhu
                                                       Jasmine W. Zhu




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